United States District Court
Northern District of California

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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

IN RE TESLA INC., SECURITIES Case No. 18-cv-04865-EMC
LITIGATION

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A. RULE 10B-5 CLAIM: LIABILITY

Statement No. 1: “Am considering taking Tesla private at $420. Funding secured.”

l. Has Plaintiff proved their Rule 10b-5 Claim against Elon Musk for Statement No. 1

identified above?

Yes: No: Xx

2. Has Plaintiff proved their Rule 10b-5 Claim against Tesla Inc. for Statement No. 1

identified above?

Yes: No: x

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Statement No. 2: “Investor support is confirmed. Only reason why this is not certain

is that it’s continent on a shareholder vote.”

3. Has Plaintiff proved their Rule 10b-5 Claim against Elon Musk for Statement No. 2

identified above?

Yes: No: xX

4. Has Plaintiff proved their Rule 10b-5 Claim against Tesla Inc. for Statement No. 2

identified above?

Yes: No: x

IF YOU CHECKED “YES” FOR ONE OR MORE QUESTIONS IN STATEMENT NOS.
1 OR 2, PLEASE PROCEED TO THE NEXT PAGE.

IF YOU CHECKED “NO” FOR EVERY QUESTION IN STATEMENT NOS. | AND 2,
PLEASE PROCEED TO SECTION E.

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B. RULE 10B-5 CLAIM: DAMAGES

1. Determine the amount of artificial inflation per share of Tesla stock proved by
Plaintiff on each date during the Class Period and write it in the table below. If you
find that Plaintiff did not prove artificial inflation on any particular day or days,

please leave that date blank.

(S/share)|$ . |$ . |[$ . [$8 . 1$ . |$. 18. |S. |S

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Determine the “but for” implied volatility percentages proved by Plaintiff for each

option contract maturity date during the Class Period and write it in the table

below. If you find that Plaintiff did not prove “but-for” implied volatility for any

particular option contract or for any particular date, please leave that date and/or

option contract maturity date blank.

Day of Class Period at Close of Market

07-Aug 08-Aug 09-Aug | 10-Aug ] 13-Aug | 14-Aug | 15-Aug | 16-Aug

Aug 10, 2018 *% % % NA NA NA NA NA
Aug 17, 2018 % % % % % % % %
Aug 24, 2018 % % % % % % % %
Aug 31, 2018 % % % % % % % %
Sep 7, 2018 % % % % % % % %
Sep 14, 2018 % % % % % % % %
Sep 21, 2018 % % % % % % % %

2

s Sep 28, 2018 NA NA % % % % % %
£ Oct 19, 2018 % % % % % % % %
s Nov 16, 2018 % % % % % % % %
Dec 21, 2018 % % % % % % % %
Jan 18, 2019 % % % % % % % %
Feb 15, 2019 % % % % % % % %
Mar 15, 2019 % % % % % % % %
Jun 21, 2019 % % % % % % % %
Aug 16, 2019 % % % % % % % %
Jan 17, 2020 % % % % % % % %

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3. Determine the amount of artificial inflation per Tesla corporate bond proved by

Plaintiff on each date during the Class Period and write it in the table below. If you

find that Plaintiff did not prove artificial inflation on any particular day or days,

please leave that date blank.

07-

Aug

08-

Aug

09- 10- 13- 14- 15- 16- 17-

Aug Aug Aug. Aug Aug Aug Aug

2019

Note

2021

Note

2022

Note

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Cc. SECTION 20(A) CLAIM: LIABLITY

Ifyou answered “Yes” to one or more questions in Section A, please answer the following

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questions.
l. Has Plaintiff proved the Section 20(a) Claim as to any of the Tesla Director
Defendants (check all that apply):

Brad W. Buss: Yes: No:

Robyn Denholm: Yes: No:

Ira Ehrenpreis: Yes: No:

Antonio J. Gracias: Yes: No:

James Murdoch: Yes: No:

Kimbal Musk: Yes: No:

Linda Johnson Rice: Yes: No:

2. If you answered “Yes” in response to Question No. | as to any Defendant, have

Defendants proved a Good Faith Defense as to that Defendant (check all that

apply):
Brad W. Buss: Yes: No:
Robyn Denholm: Yes: No:
Ira Ehrenpreis: Yes: No:
Antonio J. Gracias: Yes: No:
James Murdoch: Yes: No:
Kimbal Musk: Yes: No:
Linda Johnson Rice: Yes: No:

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oo SN DN FSF WD NY S| DOD OO fF SI DH TH FP WD WH —|& CO

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D. ALLOCATION OF RESPONSIBILITY

l. For any Defendant whom you found liable, did that Defendant commit a knowing
violation of the federal securities laws? Only answer this question as to the

Defendants against whom you found that Plaintiff proved a claim.

Elon Musk: Yes: No:
Tesla: Yes: No:
Brad W. Buss: Yes: . No:
Robyn Denholm: Yes: No:
Ira Ehrenpreis: Yes: No:
Antonio J. Gracias: Yes: No:
James Murdoch: Yes: No:
Kimbal Musk: Yes: No:
Linda Johnson Rice: Yes: No:

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2. Please decide each Defendant’s share of responsibility for Plaintiff's losses. Only
assign a percentage of responsibility to those Defendants whom you found liable,

including those who acted recklessly. The total must add up to 100%.

Elon Musk: %
Tesla: %
Brad W. Buss: %
Robyn Denholm: __ %
Ira Ehrenpreis: %
Antonio J. Gracias; _——_%
James Murdoch: _ %
Kimbal Musk: __%
Linda Johnson Rice: ss %

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E. RETURN OF VERDICT

Once the form is completed, the foreperson for the jury must sign and date it below.

Dated: FEBRUNEY 3, 9092 Signed:

Jury Foreperson

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